        Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 1 of 19 Page ID #:3



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  8
                                                     UNITED STATES DISTRICT COURT
  9
                                                  CENTRAL DISTRICT OF CALIFORNIA
10

11 JAMIE INGPEN,                                                                   ~ii~-l 017 5 ~'JOLPlh)
12                               Plaintiff,                                        NOTICE OF FILING OF REMOVAL
13                                                                                 OF CIVIL ACTION TO UNITED
                     vs.                                                           STATES DISTRICT COURT
14 UNTED COLLECTION BURAU,
15 INC.,  A Corporation; and DOES 1 through
    10, inclusive,
16                               Defendants.
17

18 TO THE JUDGES OF THE UNITED STATES DISTRICT COURT,
19 CENTRAL DISTRICT OF CALIFORNIA, AND TO ALL PARTIES AND THEIR
20 ATTORNEYS HEREIN:
21 PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1441(a), Defendant
22 UNTED COLLECTION BURAU, INC. ("Defendant"), hereby removes the above-
23 entitled action from the Superior Court for the State of California in and for the County of
24 Los Angeles, to the United States District Court for the Central District of California
25 based on the following facts:
26                  1.          On or about October 15,2012, an action was filed in the Superior Court of
27 the State of
                              California for the County of                     Los Angeles, entitled Jamie Ingpen v. United

28 Collection Bureau, Inc., LASC Case No. BC493821 ("the Action"). Copies of
                                                                                                                           the


                      NOTICE OF FILING OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
         Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 2 of 19 Page ID #:4



  1 2. Plaintiff alleges as one of                                    her causes of action violation of         the Fair Debt
 2 Collection Practices Act, 15 U.S.C.§ 1692 et seq. (FDCPA). Thus, this Court has

 3 original jurisdiction over this case pursuant to 15 U.S.C. § 1692k( d), and 28 U.S.C. §

 4 1331.

 5 3. On October 31. 2012, Defendant was served with the SummotJnd

 6 Complaint as well as accompanied documents via Acknowledgment of                                             Receipt. For the

 7 reasons stated above, defendants remove the above entitled action.
 8 4. A responsive pleading has been filed in the State Court Action. A copy of

 9 the Answer is attached hereto as "Exhibit 2."
10 5. Defendant is not aware of any other events that have taken place in the State

11 Court Action.
12 6. Removal is timely pursuant to 28 U.S.C. §1446(b) as Notice of                                                  Removal has
13 been filed within thirt days after service of                                 the Summons and Complaint on October 31,
14 2012.

15 7. For the reasons stated above, Defendant removes the above entitled action

16 now pending in the Superior Court for the County of                                           Los Angeles, Case No.: BC493821,
17 to the United States District Court for the Central District of California.
18

19 DATED: November 28,2012                                            FOLEY & MANSFIELD, PLLP
20

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                     NOTICE OF FILING QFREMQVAL OF CIVIL ACTION TO UNITED STATES DISTRCTCOURT
Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 3 of 19 Page ID #:5




                          EXHIBIT 1
      Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 4 of 19 Page ID #:6




     Octavio Cardona-Loya II, Esq. SBN 255309
     Golden & Cardona-Loya, LLP
 2 3130 Bonita Road, Suite 200B
                                                                          OCT  1 i:iJ2""1'
                                                                           .' .J,      if.
 3 Chula Vista, CA 91910
     vito (g goldencardona.com                                  John A, Cìarke, EX¡CI lìwJ OrtìceriClelk

 4 Phone: 619-476-0030; Fax: 775-898-5471                       \3Y A ,;'¡",:. ~..' j "~...wJ)ep\lty
                                                                   ~\P()l'AVl\
 5 Attorney for Plaintiff
 6
 7

 8
                              SUPERIOR COURT OF CALIFORNIA
 9              COUNTY OF LOS ANGELES, STANLEY MosKBot1E~E
10

11 JAMIE INGPEN, an individual,               ) Case No.:            BC49S821
                                              )
12               Plaintiff,                   ) COMPLAINT AND DEMAND FOR
13                                            ) JURY TRIAL (Unlawful Debt
     v.                                       ) Collection Practices)
14
                                              )
15 UNITED COLLECTION BUREAU, )
16 INC., a Corporation; and DOES 1 though)
17
     10, inclusive, )
                                              )
18                 Defendants.                )
                                              )
19
                                              )
20                                            )
21

22                                     i. INTRODUCTION
23 1. This is an action for damages brought by an individual consumer against
24 Defendants for violations of the Federal Fair Debt Collections Practices Act and California
25. Rosenthal Act which prohibit debt collectors from engaging in abusive, deceptive, and unfair
26 practices.
27 IIII
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                                 COMPLAIT AND DEMA FOR JURY TRl
           Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 5 of 19 Page ID #:7




 1 II. VENl& PARTIES
2 2. Venue in this district is proper in that the Plaintiff resides here, Defendants
3 transact business here, and the conduct complained of occurred here.

4 3. Plaintiff JAMIE INGPEN is a natural person residing in the State of
 5 California, County of               Los Angeles.

 6 4. Defendant UNITED COLLECTION BURAU, INC. ("UCB") at all times
 7 relevant was a corporation doing business of collecting debts in Los Angeles County,

 8 California operating from an address at 5620 Southwyck Blvd., Toledo, OR 43614.

 9 5. Defendants are engaged in the collection of debts from consumers uSIng the
10 mail and telephone. Defendants regularly attempt to collect consumer debts alleged to be du
11 to another. Defendants are "debt collectors" as defined by the FDCPA, 15 U.S.C. §1692a(6),
12 and by the Rosenthal Act, California Civil Code 1788.2(c).
13 6. Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. 1692a(3).
14 7. The purported debt that Defendants attempted to collect from Plaintiff was a

15 "debt" as defined by the FDCPA, is U.S.C. §1692a(S).

16 8. Plaintiff is a "debtor" as defined by the Rosenthal Act, California Civil Code

17 1788.2(h).
18 9. The purported debt which Defendants attempted to collect from Plaintiff is a
19 "consumer debt" as defined by the Rosenthal Act, California Civil Code §1788.2(f).
20 10. The tre names and capacities, whether individual, corporate (including officers
ii and directors thereof), associate            or otherwise of Defendants sued herein as DOES 1 through
22 10, inclusive, are unown to Plaintiff, who therefore sues these Defendants by such
23 fictitious names. Plaintiff is informed and believes, and alleges that each Defendant

24 designated as a DOE is involved in or is in some manner responsible as a prÌIicipal,
25 beneficiar, agent, co-conspirator, joint venturer, alter ego, third party beneficiary, or
26 otherwise, for the agreements, transactions, events and/or acts hereinafter described, and
27 thereby proximately caused injuries and damages to Plaintiff. Plaintiff requests that when th
28 true names and capacities of these DOE Defendants are ascertained, they may be inserted in


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                                             COl\LAINT AND DEMAND FOR JUy TRIAL
           Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 6 of 19 Page ID #:8




 1 all subsequent proceedings, and that this action may proceed against them under their true
 2 names.
 3

 4 III. FACTUAL ALLEGATIONS
 5 11. Sometime in August 2012, a UCB representative named Mary Casey contacted
 6 Plaintiff over the telephone to collect on an alleged credit card debt (the "debt").

 7 12. Ms. Casey stated that the purported credit card was "secured."
 8 13. Plaintiff was shocked and asked how that was possible.

 9 14. Ms. Casey stated that "people think credit cards are unsecured. But it's one of

10 those things in the fine     'print that you don't even read," or words to that effect.
11 15. Ms. Casey further stated that Plaintiffs lack of payment on the allegedly
12 secured credit card resulted in a "default. on a ban loan/' or words to that effect.
13 16. Ms. Casey added that the debt was in a "premier portolio."
14 i 7. Plaintiff inquired as to how the debt could be secured when Plaintiff had not
15 provided any collateraL.
16 18. Ms. Casey could not answer Plaintiffs question.
17 19. Plaintiff later contacted Chase and was informed that credit cards are
18 unsecured.
19 20. UCB failed to send Plaintiff the written notice under 15 U.S.C. § 1692g within
20 five days after VeB' s initial communication with Plaintiff.
21 21. As a result ofVCB's conduct, Plaintiff suffered from stress and worr.
22
23 IV. FIRST CAUSE OF ACTION
24 (Against all Defendants for Violations of the Fair Debt Collection Practices Act)
25 22. Plaintiff repeats, rea               lIeges and incorporates by reference all of the foregoing
26 paragraphs.
27 23. Defendants violated the FDCP A. Defendants' violations include, but are not
28 limited to, the following:


                                                     3
                                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 7 of 19 Page ID #:9




 1               (a) Defendants violated 15 U.s.C. § 1692d by engaging in conduct the natura

2                       consequence of which is to harass, oppress, or abuse Plaintiff in
3                       connection with the collection of the alleged debt;
4                (b) Defendants violated 15 U.S.C. § 1692e by using false, deceptive, or
5                      misleading representations or means in connection with the collection of a
6                       debt;
7                (c) Defendants violated 15 U.S.C. § 1692e(2)(A) by giving the false

 8                      impression of the character, amount or legal status of the alleged debt;
 9               (d) Defendants violated 15 U.S.C. § 1692e(4) by giving the impression that

10                      nonpayment of a debt wil result in the arest or imprisonment of a person
11                      andior the seizure, garishment, attachment, or sale of any property or
12                      wages of any person unless such action is lawful and the debt collector or
13                      creditor intends to take such action;
14 (e) Defendants violated 15 U.S.C. § 1692e(l0) by using a false representation
15 or deceptive means to collect or attempt to collect any debt or to obtain
16 information regarding a consumer;
17 (f) Defendants 15 U.S.C. § 1692(f) by using unfair or unconscionable means
18 to collect or attempt to collect a debt; and
19 (g) Defendants violated 15 U.S.C. § 1692g(a) by failng to send the Plaintiff a
20 validation notice within five days of the initial communication.
21 24. As a result of the above violations of the Fair Debt Collection Practices Act,
22 Defendants are liable to the Plaintiff for Plaintiff's actual damages, statutory damages, and
23 attorney's fees and costs pursuant to 15 U.S.C. §1692k.
l4
25                               V. SECOND CAUSE OF ACTION
26                  (Against all Defendants for Violations of the Rosenthal Act)
27            25. Plaintiff repeats, realleges and incorprates by reference all of the foregoing

28 paragraphs.



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                                 COMPLAIT AND DEMAND FOR JUy TRIAL
        Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 8 of 19 Page ID #:10




1                       26. Defendants violated the Rosenthal Act, by including but not limited to, the
2 following:
3 (a) Defendants violated California Civil Code § 1788.17 by failng to comply
4 with the FDCP A as referenced above.
5 27. Defendants' acts as described above were done intentionally with the purpose

6 of coercing Plaintiff to pay the alleged debt.
7 28. As a proximate result of Defendants' violations enumerated above, Plaintiff
 8 was damaged in amounts which are subject to proof.
9 29. Defendants' violations of                                               the Rosenthal Act were wilful and knowing.
10 Defendants are therefore liable to Plaintiff for Plaintiffs actual damages, statutory damages,
11 and attorney's fees and costs pursuant to California Civil Code §1788.30.
12

13 WHEREFORE, Plaintiff respectflly requests that judgment be entered against
14 Defendants, and each of them, for the following:
15 (a) Actual damages;
16 (b) Statutory damages pursuant to California Civil Code §1788.30(a) and
17 15 U.S.C. §1692k;
18                            (c) Costs and reasonable attorney's fees pursuant to California Civil Code

19                                    §§1788.30(b) & (c) and 15 U.S.C. §1692k; and
20                            (d) Fòr such other and further relief as the Court may deem
                                                                                                             just and proper.

21

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23 Date: September :i~ 2012
24                                                                         Octavio Cardona-Loya II,
                                                                           Attorney for Plaintiff
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      II/I
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                                                         COMPLAIT AND DEMAND FOR JUy TRI
     Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 9 of 19 Page ID #:11




i                                 DEMAND FOR JURY TRIAL
2        Please take notice that Plaintiff demands trial by jury in this action.
3

4
5 Date: September 2. b, 2012

6
                                          ~~Octavio Cardona-Loya II,
                                           . Attorney for Plaintiff
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Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 10 of 19 Page ID #:12




                           EXHIBIT             2
.'

             Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 11 of 19 Page ID #:13



       1      Sean P. Flynn (SBN 220184)                                                  CONFORMED COpy
              sflynn(ifoleymansfield.com                                                  OF ORIGINAL FILED
                                                                                        Los Angeles Superior Court
       2      Carley G. Mak (SBN 251568)
              cmak(ifoleymansfield.com
       3      FOLEY & MANSFIELD, PLLP                                                          NOV 28 2012
              300 South Grand Avenue, Suite 2800
       4      Los Angeles, CA 90071
              Telephone: (213) 283-2100
       5      Facsimile: (213) 283-2101
                                                                                                . ESUV"=
                                                                                     :~. ~'~autye  Offi~~~ii~

       6 Attorneys for Defendant
              UNITED COLLECTION BUREAU, INC.
       7

       8                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
       9                                               FOR THE COUNTY OF LOS ANGELES
     10

     11       JAMIE INGPEN,                                               Case No: BC493821
                                                                          (Assigned to Hon. Ramona See, Dept. 69)
     12                        Plaintiff,
     13             vs.                                                    DEFENDANT'S ANSWER TO PLAINTIFF'S
                                                                           COMPLAINT AND DEMAND FOR JURY
     14       UNITED COLLECTION BUREAU, INC.                              'TRIAL

     15                        Defendant.
                                                                          Complaint Filed: October 15,2012
     16                                                                   Trial Date: None Assigned

     17

     18

     19 Defendant UNITED COLLECTION BUREAU, INC. ("Defendant") answers the Complaint of
     20 Plaintiff JAMIE INGPEN ("Plaintiff'), as follows:
     21 GENERAL DENIAL
     22 Pursuant to Code of Civil Procedure § 431.30(d), Defendant, generally and specifically, denies
     23 each and every allegation in the unverified Complaint fied by Plaintiff, and specifically denies that

     24 Plaintiff    has been damaged in any of            the sums mentioned in said Complaint, or in any sum, or at all, or
     25 that Plaintiff is entitled to the relief sought in the Complaint as a result of any act, omission, or delay in
     26 actìng of this answering Defendant.

     27 III
     28 III
                                                   ,
                                             't;
                       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAlTAND DEMAND FOR JURY TRIAL
       Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 12 of 19 Page ID #:14



  1 AFFIRMATIVE DEFENSES
 2 FIRST DEFENSE
 3 (Statute of                                                                               Limitations)

 4 Plaintiffs entire Complaint is bared by the applicable statute of                                        limitations.

 5 SECOND DEFENSE
 6 (Contributory/Comparative Fault)
 7 Any violation of the law or damage suffered by Plaintiff, which Defendant denies, was due to the

 8 affrmative actions and/or omissions of                                Plaintiff or others, and does not give rise to any liability or claim

 9 of damages against Defendant.

10 THIRD DEFENSE
11 (Bona Fide Error)
12 Plaintiffs claims are bared as against Defendant by the qualified immunity of 15 U.S.C. §
13 1692k( c) and California Civil Code 1788.30( e). To wit, ary violation of either statute, which Defendant

14 denies, was not intentional and resulted, if at all, from a bona fide error notwithstanding the maintenance

15 of procedures reasonably adapted to avoid such errors.


17 (Standing)
16 FOURTH




18 Plaintiff
                                                                                              DEFENSE


                                 lacks standing to bring this action against Defendant under the Fair Debt Collection
19 Practices Act and the Rosenthal Fair Debt Collection Practices Act.

20 SIXTH DEFENSE
21 (Failure to Mitigate)
22 Plaintiff failed, in whole or in par, to mitigate Plaintiff s damages despite having the means to
23 do so.
24. SEVENTH DEFENSE
25 (Good Faith)
26 Defendant alleges that at all times it acted in good faith and with good cause. The conduct of
27 Defendant was within the reasonable expectations of the paries and was reasonably related to
28 Defendant's legitimate business interests upon the basis of reasonable factors.

                                                                                             2
                       DEFENDANT'S ANSWER TO                           PLAINTIFF'S COMP~'l.AND DEMAND             FOR JURY TRIL
      Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 13 of 19 Page ID #:15



  1                                              EIGHTH DEFENSE
 2                                                     (Estoppel)
 3             The Complaint and each of its purorted claims for relief are bared by the doctrine of estoppel.
 4                                                NINTH DEFENSE
 5                                                     (Waiver)
 6             The Complaint and each of its purported claims for relief are bared by the doctrine of waiver.
 7                                               TENTH DEFENSE
 8                                                 (Unclean Hands)
 9             The Complaint and each of its purorted claims for relief are bared by the doctrine of unclean
10    hands.
i 1                                            ELEVENTH DEFENSE
12                                                     (Laches)
13             The Complaint and   each of its purorted claims for relief are bared by the doctrne of laches.
14                                             TWELFTH DEFENSE
15                                                (Intervening Cause)
16             Plaintiffs alleged damages, which Defendant continues to deny, were not caused by Defendant
17 but by an independent intervening cause.
18 THIRTEENTH DEFENSE
19 (Reservation of Additional Defenses)
20 Defendant alleges that the Complaint does not describe the alleged actions with sufficient
21 particularty to permit it to ascertain what other defenses may exist. Defendant therefore reserves the

22 right to assert all defenses that may pertain to the Complaint as the facts of the case are discovered.
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                   DEFENDANT'S ANSWER TOPLAINTlFF'SCOMPLAINT.ANDDEMAND.FOR JURY TRIAL
     Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 14 of 19 Page ID #:16



 1 WHEREFORE, Defendant prays as follows:
 2         1.       That Plaintiff   take nothing by way of        her Complaint herein and that this action is
 3                  dismissed in its entirety;
 4         2.       For Defendant's attorneys' fees and costs incurred herein; and
 5         3.      For such other relief as the Cour may deem just and proper.
 6

 7 DATED: November 28,2012
                                                              FOLEY & MANSFIELD, PLLP
 8

 9                                                    BY~~~~
                                                    /s..Carley
                                                           Flynn
                                                               C. Mak .
10
                                                              Attorneys for Defendant
11                                                            UNITED COLLECTION BUREAU, INC.

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                DEFENDANT'S.ANSWER TO.PLAINTIFF'SCOMPLAINTANDÐEMAND FOR JURY TRIAL
     Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 15 of 19 Page ID #:17



 1 DEMAND FOR JURY
 2 Defendant, United Collection Bureau, Inc. demands a Jur Trial on all claims suitable for

 3 determination by a Jur.

 4

 5 DATED: November 28,2012                  FOLEY & MANSFIELD, PLLP
 6

 7                                                  ~..
                                             ean P. Flynn
 8
                                            Carley C. Mak
                                            Attorneys for D end   ant
 9                                          UNITED COL ECTION BUREAU, INC.

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             DEFENDANT'S ANSWER   TO PLAINTlFF'SCOMPLAINTANDDEMAND FOR JURY TRIAL
    Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 16 of 19 Page ID #:18



                                               PROOF OF SERVICE
2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:

3
           I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
4 not a pary to the within action; my business address is 300 South Grand Ave., Suite 2800, Los Angeles,
    California 90071
5
           On November 28, 2012, I served the foregoing document described as: DEFENDANT'S
6 ANSWER TO PLAINTIFF'S COMPLAINT AND DEMAND FOR JURY TRIAL on the
    interested paries in this action as follows:
7
  OCTA VIO CARDONAL-LOYA II, ESQ.
8 GOLDEN & CARDONA-LOYA, LLP
9 3130 BONITA
   CHULA      ROAD,
         VISTA,     SUITE 200B
                CA 91910
10 (619) 476-0030

           (BY MAIL) I enclosed the documents in a sealed envelope or package addressed to the persons
           at the addresses above and placed the envelope for collection and mailing, following our
           ordinar business prâCiices. I am ready familar with this business's practice for collecting and
           processing correspondence for mailing. On the same day that correspondence is placed for
           collection and mailing, it is deposited in the ordinar course of business with the United States
           Postal Service, in a sealed envelope with postage fully prepaid.


           (BY COURT'S CMÆCF SYSTEM) Pursuant to Local Rule, I electronically fied the documents
           with the Clerk of the Cour using the CMÆCF systems to the paries and/or counsel who are
           registered CMÆCF Users set forth in the service list obtained from ths cour.

           (FEDERAL) I declare that I am employed in the offce of a member of the bar of this Court at
           whose direction the service was made.

           (STATE) I declare under penalty of peijury under the laws of the State of California that the
           above is true and correct.

           Executed on November 28,2012 Los Ange




                                                           6
              DEFENDANT'S     ANSWER TO    PLAINTIFF'S   ,COMPLAINT AND   DEMAND   FOR   JURY TRIAL
                   Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 17 of 19 Page ID #:19
                                      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if               you are representing yourself 0 ) DEFENDANTS
JAMIE INGPEN UNITED COLLECTION BUREAU, INC.

      (b) Attorneys (Finn Name, Address and Telephone Number. If       you are representing       Attorneys (If   Known)
          yourself, provide same,)
  OCTAVIO CARDONA-LOYA II, ESQ. (SBN255309)                                                       SEAN FLYNN, ESQ. (SBN 220184)
  vito~goldencardona. com                                                                         sflyn~foleymansfield. com
  GOLDEN & CARDONA-LOYA, LLP                                                                      FOLEY & MASFIELD, PLLP
  3130 Bonita Road, Suite 200B                                                                    300 South Grand Avenue, Suite 2800
  Chula Vista, CA 91910                                                                           Los Angeles CA 90071
   (619) 476-0030                                                                                  (213) 283 -2100
II.       BASIS OF JURISDICTION (Place an X in one box only,)                        II.       CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
                                                                                               (Place an X in one box for plaintiff and one for defendant.)
                                                                                                                  PTF DEF                                                 PTF DEF
o i V,S. Government Plaintiff                 LX   3                                 Citizen of   This State       o I 0 I Incorporated or Principal Place                     4 04
                                                                                                                                       of Business in this State

o 2 V,S. Government Defendant                 04                                                                         2 0 2 Incorporated and Principal Place 0 5 0 5
                                                                                                                                       of Business in Another State
                                                                                                                         3 03          Foreign Nation                     0606
IV. ORIGIN (Place an X in one box only,)
o I Original IJ 2 Removed from 0 3 Remanded from 04 Reinstated or 0 5 Transferred from another district 0 6 Multi-                                                  o 7 Appeal to District
           Proceeding State Court Appellate Court Reopened (specify): District
                                                                           Litigation
                                                                                                                                                                          Judge from
                                                                                                                                                                          Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: CX Yes 0 No (Check 'Yes' only if                                                demanded in complaint.)

CLASS ACTION under F.R.C.P. 23: C=i Yes i: No                                                  (X MONEY DEMANDED IN COMPLAINT: $ According to Proof
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are fiing and write a brief                      statement of cause, Do not cite jurisdictional statues unless diversity.)

15 U.S.C. Section 1692, et seq.
VII. NATURE OF SUIT (Place an X in one box only,)
_t9_.ltil_~.ll                                                                                                                                                     o 710 Fair Labor
0400 State Reapportionment 0 I 10 Insurance
0410 Antitrust 0120 Marine 0310 Airplane                                                                                               o 5 i 0 Motions to Stadards Act
0430 Banks and Banking 0 130 Miller Act 0 3 15 Airplane Product                                        o 370 Other Fraud                         Vacate Sentence 0 720 LaborlMgmt.
                                                                                                                                                 Habeas Corpus Relations
0450 Commerce/ICC 0140 Negotiable Instrument Liability                                                 0371 Truth in Lending
  _. Rates/etc. 0 150 Recovery of 0 320 Assault, Libel &
i::J460 Deportation Overpayment & Slander
                                                                                                       o 380 Other Personal
                                                                                                                   Propert Damage      O Reporting&
                                                                                                                                       o 530 General 0 730 LaborlMgmt.
                                                                                                                                            535 Death Penalty Disclosure Act
                                                                                                                                       o 540 Mandamus/ 0 740 Railway Labor Act



O Liability
                                                                                                       o 385 Propert Damage
              and    Corrpt Judgment Liability
0470 Racketeer Influenced Enforcement of 0330 Fed. Employers'
              Organizations 0 i 5 I Medicare Act 0 340 Marine
                                                                                                                   Product Liability             Other
                                                                                                                                       o 550 Civil Rights 0 790 Other Labor
(X 480 Consumer Credit 0 i 52 Recovery of Defaulted 0 345 Marine Product                                                               o 555 Prison Condition Litigation
        490 Cable/Sat TV Student Loan (Exc\. 0 350 MotorVehicle                                                                                                    o 791 Emp\. Ret. Inc.
0810 Selective Service Veterans) 0355 Motor Vehicle                                                                                                                        Security Act
0850 Securities/Commodities/ 0 153 Recovery of Product Liability                                                                       o 610 Agriculture
              Exchange Overpayment of 0 360 Other Personal
 0875 Customer
                                        O Injury 441 Voting
                        Challenge 12 Veteran's Benefits
              USC 3410 160 Stockholders' Suits 0 362 Personal Injury- 0442 Employment
 0890 Other Statutory Actions 0 190 Other Contract Med Malpractice 0443 Housing! Acco-
                                                                                                                                       o 620 Other Food &
                                                                                                                                                 Drug
                                                                                                                                       o 625 Drug Related
                                                                                                                                                 Seizure of lR~.~.s.E~ \ ílt~'ì
 089 I Agricultural Act 0 i 95 Contract Product 0 365 Personal Injury- mmodations                                                                Propert 21 USC 0 861 HIA (1395fl
 0892 Economic Stabilization Liability Product Liability 0 444 Welfare                                                                           881 0 862 Black Lung (923)
              Act 0 196 Franchise 0 368 Asbestos Personal 0 445 American with                                                          o 630 Liquor Laws 0 863 DIWClDrw
 0893 Environmental Matters l,e1l,al""Jltii Injury Product Disabilities-                                                               o 640 R.R. & Truck (405(g))
 0894 Energy Allocatim Act 0210 Land Condemnation Liability Employment                                                                 o 650 Airline Regs 0 864 SSID Title XVI
 0895 Freedom ofInfo. Act 0220 Foreclosure tf&1;0;filN!'.~WAtj 0446 American with                                                      o 660 Occupational
 0900 Appeal of         Fee Determi- 0230 Rent Lease & Ejectment 0462 Naturalization Disabilities-                                               SafetylHealth
              nation Under Equal 0240 Torts to Land Application Other                                                                  o 690 Other 870 Taxes (U.S.
              Access to Justice 0245 Tort Product Liability 0 463 Habea Corpus- 0440 Other Civil                                                                           Plaintiff or
 0950 Constitutionality of 0 290 All Other Real Propert Alien Detainee Rights                                                                                              Defendant)
              State Statutes 465 Oter Immigration                                                                                                                  o 871 IRS - Third Part
                                                                                  Actions                                                                                  26 USC 7609


FOR OFFICE USE ONLY: Case Number:
              AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.
CV -71 (05/08) CIVIL COVER SHEET                                                                                                                                                  Page I of2
                                                                                                                                                                                     CCD-JS44
                   Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 18 of 19 Page ID #:20
                                      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                    CIVIL COVER SHEET

VII     (a). IDENTICAL CASES: Has this action been previously fied in this court and dismissed, remanded or closed? CX No 0 Yes
If    yes, list case number(s):
Viii(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? CX No 0 Yes
If    yes, list case number(s):
Civil cases are deemed related if a previously fied case and the present case:
(Check all boxes that apply) 0 A. Arise from the same or closely related transactions, happenings, or events; or
                                        o B, Call for detennination of          the same or substantially related or similar q\lestions of!aw and fact; or
                                        o C, For other reasons would entail substantial duplication of!abor if              heard by different   judges; or

                                        o D, Involve the same patent, trademark or copyright, 1! one ofthe factors identified above in a, b or c also is present.
IX. VENUE: (When completing the following infunnation, use an additional sheet if                  necessar,)
(a) List the County in this District; California County o\ltside of         this District; State if other than California; or Foreign Co\lntry, in which EACH named plaintiff       resides,

 o Check here if           the government, its agencies or employees is a named plaintiff, If       this box is checked, go to item (b),

      County in this District: *                                                             California County outside of    this District' State if other than California' or Foreiim Countrv
      Los Angeles

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides,
 o Check here if           the government, its agencies or employees is a named defendant. If         this box is checked, go to item (c),

      County in this District: *                                                             California County outside of     this District' State if other than California' or Foreign Countrv
                                                                                            Florida

(c) List the County in this District; California County outside of          this District; State if other than California; or Foreign Country, in which EACH claim arose,
                                                   , location of
            Note' In land condemnation cases use the                        the tract ofland involved
      County in this District:*                                                              California County outside of     this District' State if other than California; or Foreign Countrv
      Los Angeles

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of



X. SIGNATURE OF ATTORNEY (OR PRO PER'
                                                              the tract of! involved

                                                                                                              ~                                   Date



        Notice to CounsellParties: The CY -71 (1S-44) Civil Cover Sheet and e infonnation contained herein neither replace nor supplement the filing and service of
                                                                                                                                                                                 '2
                                                                                                                                                                                   pleadings
        or other papers as required by law. This fonn, approved by the Judicial Conference ofthe United States in September 1974, is required p\lrsuant to Local Rule 3-1 is not fied
        but is used by the Clerk of the Court for the p\lrpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)



Key to Statistical codes relating to Social Security Cases:

             Nature of   Suit Code       Abbreviation        Substantive Statement of       Cause of Action


             861                         HIA                 All claims for health insurance benefits (Medicare) \Inder Title 18, Par A, of the Social Security Act, as amended,
                                                             Also, include claims by hospitals, skiled nursing facilities, etc" for certification as providers of services under the
                                                             program, (42 U,S,c. 1935FF(b))


             862                         BL                  All claims for "Black L\lng" benefits under Title 4, Par B, of the Federal Coal Mine Health and Safety Act of 1969,
                                                             (30 U,S,C, 923)

             863                         DIWC                All claims fied by insured workers for disability insurance benefits under Title 2 of  the Social Security Act, as
                                                              amended; plus all claims fied fur child's insurance benefits based on disability, (42 U,S,C. 405(g))

             863                         D1WW                All claims fied for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
                                                             Act, as amended, (42 U.S.C. 405(g))

             864                         ssm                 All claims for supplemental security income payments based upon disability fied under Title 16 of              the Social Sec\lrity
                                                             Act, as amended,

             865                         RSI                 All claims for retirement (old age) and survivors benefits under Title 2 of           the Social Security Act, as   amended, (42
                                                              U,S,C, (g))


CY-71 (05/08)                                                                        CIVL COVER SHEET                                                                                 Page 2 of2
Case 2:12-cv-10175-SJO-PLA Document 1 Filed 11/29/12 Page 19 of 19 Page ID #:21


                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA


        NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUGE FOR DISCOVERY


                       This case has been assigned to District Judge S. James Otero and the assigned discovery
             Magistrate Judge is Paul Abrams.

             The case number on all documents filed with the Court should read as follows:
                                                       CV12- 10175 SJO (PLAx)
              Pursuant to General Order 05-07 of the United States Distrct Court for the Central
        District of California, the Magistrate Judge has been designated to hear discovery related
        motions.



        All discovery related motions should be noticed on the calendar of
                                                                                                    the Magistrate Judge




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        - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - _.
                                                                       NOTICE TO COUNSEL

     A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
     fied, a copy of this notice must be served on all plaintiffs).

     Subsequent documents must be fied at the following location:

     6' Western Division U Southern Division                                                       U Eastern Division
            312 N. Spring St., Rm. G-B 411 West Fourth St., Rm. 1.053                                  3470 Twelfth St., Rm. 134
            Los Angeles, CA 90012 Santa Ana, CA 92701-4516                                             Riverside, CA 92501




      Failure to file at the proper location wil result in your documents being returned to you.




      CV-18 (03/06)               NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
